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            Case 17-07453-RLM-13               Doc       Filed 07/18/22          EOD 07/18/22 13:03:40             Pg 3 of 7

                   323 FIFTH STREET                                                                                      (800) 603-0836
                   EUREKA CA 95501                                                                Para Español, Ext. 2660, 2643 o 2772
                                                                                                      8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                              Main Office NMLS #5985
                                                                                                            Branch Office NMLS #9785




              JEREMY J JACKSON
              5641 OLIVE BRANCH WAY
              INDIANAPOLIS IN 46237



Analysis Date: July 14, 2022                                                                                                            Final
Property Address: 5641 OLIVE BRANCH WAY INDIANAPOLIS, IN 46237                                                           Loan
                                     Annual Escrow Account Disclosure Statement
                                                  Account History

      This is a statement of actual activity in your escrow account from Sept 2021 to Aug 2022. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information               Current:      Effective Sep 01, 2022:             Escrow Balance Calculation
 Principal & Interest Pmt:              461.26                  461.26              Due Date:                                  Aug 01, 2022
 Escrow Payment:                        421.22                  520.97              Escrow Balance:                                 493.56
 Other Funds Payment:                      0.00                    0.00             Anticipated Pmts to Escrow:                     421.22
 Assistance Payment (-):                   0.00                    0.00             Anticipated Pmts from Escrow (-):             2,276.40
 Reserve Acct Payment:                     0.00                    0.00             Anticipated Escrow Balance:                 ($1,361.62)
  Total Payment:                         $882.48                  $982.23


                     Payments to Escrow        Payments From Escrow                                 Escrow Balance
       Date          Anticipated   Actual      Anticipated     Actual          Description          Required       Actual
                                                                            Starting Balance         1,100.07     (2,935.50)
      Sep 2021          421.22      408.07                            *                              1,521.29     (2,527.43)
      Oct 2021          421.22    1,632.28                            *                              1,942.51       (895.15)
      Oct 2021                                               1,591.20 *     County Tax               1,942.51     (2,486.35)
      Nov 2021          421.22      816.14       1,521.30             *     County Tax                 842.43     (1,670.21)
      Nov 2021                        3.50                            *     Escrow Only Payment        842.43     (1,666.71)
      Nov 2021                      336.30                            *     Escrow Only Payment        842.43     (1,330.41)
      Dec 2021          421.22      408.07                            *                              1,263.65       (922.34)
      Dec 2021                       13.15                            *     Escrow Only Payment      1,263.65       (909.19)
      Jan 2022          421.22      408.07                            *                              1,684.87       (501.12)
      Jan 2022                       13.15                            *     Escrow Only Payment      1,684.87       (487.97)
      Feb 2022          421.22      829.29                            *                              2,106.09        341.32
      Feb 2022                       13.15                            *     Escrow Only Payment      2,106.09        354.47
      Mar 2022          421.22      842.44                            *                              2,527.31      1,196.91
      Apr 2022          421.22      421.22                                                           2,948.53      1,618.13
      Apr 2022                                               1,763.10 *     County Tax               2,948.53       (144.97)
      May 2022          421.22      421.22       1,591.20             *     County Tax               1,778.55        276.25
      Jun 2022          421.22      421.22                                                           2,199.77        697.47
      Jun 2022                                                 625.13 *     Escrow Disbursement      2,199.77         72.34
      Jul 2022          421.22      421.22                                                           2,620.99        493.56
      Aug 2022          421.22                   1,942.10               *   Homeowners Policy        1,100.11        493.56
                                                                            Anticipated Transactions 1,100.11        493.56

                                                                                                                               Page 1
     Case
Aug 2022       17-07453-RLM-13
                         421.22                Doc        Filed  07/18/22
                                                              2,276.40      EOD 07/18/22
                                                                        Homeowners Policy 13:03:40 (1,361.62)
                                                                                                    Pg 4 of 7
                $5,054.64 $7,829.71           $5,054.60      $6,255.83

An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
our toll-free number.


Last year, we anticipated that payments from your account would be made during this period equaling 5,054.60. Under
Federal law, your lowest monthly balance should not have exceeded 842.43 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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            Case 17-07453-RLM-13                    Doc       Filed 07/18/22           EOD 07/18/22 13:03:40                  Pg 5 of 7
Analysis Date: July 14, 2022                                                                                                                       Final
Borrower: JEREMY J JACKSON                                                                                                          Loa
                                                Annual Escrow Account Disclosure Statement
                                                       Projections for Coming Year

     This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
     from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                             (1,361.62)      1,121.96
     Sep 2022               469.23                                                                           (892.39)      1,591.19
     Oct 2022               469.23                                                                           (423.16)      2,060.42
     Nov 2022               469.23        1,591.20            County Tax                                   (1,545.13)        938.45
     Dec 2022               469.23                                                                         (1,075.90)      1,407.68
     Jan 2023               469.23                                                                           (606.67)      1,876.91
     Feb 2023               469.23                                                                           (137.44)      2,346.14
     Mar 2023               469.23                                                                            331.79       2,815.37
     Apr 2023               469.23                                                                            801.02       3,284.60
     May 2023               469.23        1,763.10            County Tax                                     (492.85)      1,990.73
     Jun 2023               469.23                                                                            (23.62)      2,459.96
     Jul 2023               469.23                                                                            445.61       2,929.19
     Aug 2023               469.23        2,276.40            Homeowners Policy                           (1,361.56)       1,122.02
                         $5,630.76       $5,630.70

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
     Your escrow balance contains a cushion of 938.45. A cushion is an additional amount of funds held in your escrow
     balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
     Federal law, your lowest monthly balance should not exceed 938.45 or 1/6 of the anticipated payment from the account,
     unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
     this issue.

     Your ending balance from the last month of the account history (escrow balance anticipated) is (1,361.62). Your starting
     balance (escrow balance required) according to this analysis should be $1,121.96. This means you have a shortage of 2,483.58.
     This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
     deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 48
     months.

      We anticipate the total of your coming year bills to be 5,630.70. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Analysis Date: July 14, 2022                                                                                                          Final
Borrower: JEREMY J JACKSON                                                                                              Loan

                                                                  Paying the shortage: If your shortage is paid in full, your new
      New Escrow Payment Calculation
                                                                  monthly payment will be $930.49 (calculated by subtracting the
      Unadjusted Escrow Payment                     469.23
                                                                  Shortage Amount to the left and rounding, if applicable). Paying the
      Surplus Amount:                                 0.00
                                                                  shortage does not guarantee that your payment will remain the same, as
      Shortage Amount:                               51.74
                                                                  your tax or insurance bills may have changed. If you would like to pay
      Rounding Adjustment Amount:                     0.00
                                                                  the shortage now, please pay the entire amount of the shortage before
      Escrow Payment:                              $520.97
                                                                  the effective date of your new payment. To ensure that the funds are
                                                                  posted to your account correctly, please notify your asset manager that
                                                                  you are paying the shortage.

    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
    payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
    Street, Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                            Case No. 17-07453-RLM-13

 Jeremy Joseph Jackson
                                                   Chapter 13
 Tina Lynn Jackson

 Debtors.                                          Judge Robyn L. Moberly

                                CERTIFICATE OF SERVICE

I certify that on July 18, 2022, a copy of the foregoing Notice of Mortgage Payment Change was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Robert B. Lynch, Debtors’ Counsel
          erin@lynchandbelch.com

          John Morgan Hauber, Trustee
          ecfmail@hauber13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on July 18, 2022, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Jeremy Joseph Jackson, Debtor
          Tina Lynn Jackson, Debtor
          5641 Olive Branch Way
          Indianapolis, IN 46237

                                                   Respectfully Submitted,

                                                   /s/ Molly Slutsky Simons
                                                   Molly Slutsky Simons (OH 0083702)
                                                   Sottile & Barile, Attorneys at Law
                                                   394 Wards Corner Road, Suite 180
                                                   Loveland, OH 45140
                                                   Phone: 513.444.4100
                                                   Email: bankruptcy@sottileandbarile.com
                                                   Attorney for Creditor
